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    8 BIPARTISAN COALITION FOR AMERICAN
      SECURITY CORPORATION, HIGHGATE
    9 PASS, LLC, and GARUDA PARTNERS, LTD.
   10
   11
   12                      UNITED STATES DISTRICT COURT
   13                     CENTRAL DISTRICT OF CALIFORNIA
   14
   15   BILL A. BUSBICE, JR., an individual; ) CASE NO. CV14-4077 PA (AJWx)
        et al.,                              ) [Before the Hon. Percy Anderson]
   16                                        )
                            Plaintiffs,      ) OPPOSITION TO MOTION OF
   17                                        ) PLAINTIFFS TO COMPEL
                v.                           ) PRODUCTION OF ATTORNEY
   18                                        ) CLIENT COMMUNICATIONS;
        JAMES DAVID WILLIAMS, an             ) DECLARATION OF JOHN G.
   19   individual; et al.,                  ) BURGEE
                                             )
   20                       Defendants.      ) Date: May 11, 2015
                                             ) Time: 10:00 a.m.
   21                                        ) Courtroom: 690
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    1         Defendants JAMES DAVID WILLIAMS, STEVEN J. BROWN, GERALD
    2   R. SEPPALA, LEGACY FILM CREST, LLC, MOMENT FACTORY, LLC,
    3   LUXE ONE, INC., VISIONS LLC, BIPARTISAN COALITION FOR
    4   AMERICAN SECURITY CORPORATION, HIGHGATE PASS, LLC, GARUDA
    5   PARTNERS, LTD. (Trustee of The Mulholland Ridge Trust), and BARRY JAY
    6   REISS submit the following points and authorities in opposition to Plaintiffs’
    7   Motion to Compel Production of Attorney-Client Communications.
    8
    9   I.    INTRODUCTION.
   10         Through this Motion, Plaintiffs seek to entirely obliterate the attorney-client
   11   privilege with respect to communications between Defendant Barry J. Reiss, an
   12   attorney, and other Defendants who were his clients. Although the allegations of
   13   Plaintiffs’ Complaint are that Defendants made purported misrepresentations in
   14   order to obtain investments in movie projects, Plaintiffs seek not to compel the
   15   disclosure of some attorney-client communications, but absolutely all
   16   communications between Mr. Reiss and any of his clients, most of which occurred
   17   after Plaintiffs had already transmitted funds to Defendants. Not only is Plaintiffs’
   18   scattergun approach to invalidating the attorney-client privilege unsupported, but
   19   Plaintiffs have failed to show that Mr. Reiss was in any way involved in rendering
   20   advice in connection with the commission of fraud. There is thus no merit to
   21   Plaintiffs’ Motion which should be denied.
   22
   23   II.   BACKGROUND.
   24         This action is founded upon a composite of investments that Plaintiff Bill A.
   25   Busbice, Jr., made in four separate movie projects – Made in America, Angels
   26   Sing, Left Behind and The Letters. Each of the movie projects constituted a
   27   separate investment and involved differing entities and parties. These investments
   28   were made through Busbice’s wholly owned corporate entities, Plaintiffs Olla

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    1   Productions, LLC and Edibsub, LLC. Busbice’s participation in the movie
    2   projects was through funding these entities and acting as their principal; he had no
    3   direct relationship to the projects.
    4         As is readily evident, Plaintiffs seek to try this case through the
    5   disparagement and slander of Defendants. The basic premise of the Complaint is
    6   that Defendants misused the funds obtained from Plaintiffs for the film projects.
    7   However, as the evidence will ultimately bear out, the four film projects at issue
    8   were supported by funds invested by Plaintiffs, and Defendants were working in
    9   appropriate ways to achieve the purposes of those investments and obtain a
   10   substantial return for Plaintiffs. For example, there is no dispute that a $1.75-
   11   million investment was made in the limited partnership that produced The Letters,
   12   or that millions of dollars were spent to support the release of Left Behind, or that
   13   $750,000 was promptly returned to Plaintiffs when disputes arose between the
   14   parties regarding the use of funds, among other things. Nonetheless, Plaintiffs
   15   couch their claims with inflammatory and outrageous accusations in order to incite
   16   prejudice against Defendants.
   17         From the outset of this case, before any discovery, Plaintiffs’ counsel
   18   asserted the position that absolutely none of the communications between
   19   Defendant Reiss and any of his clients are privileged. (Burgee Decl., ¶ 3.) Upon
   20   review of documents produced by Mr. Reiss, Defendants’ counsel found no
   21   grounds to produce any attorney-client communications. (Id.) None of the
   22   communications between Mr. Reiss and the other Defendants involved advice
   23   regarding the commission of fraud. (Id.) Defendants’ counsel therefore provided
   24   Plaintiffs’ counsel with privilege logs as to hundreds of privileged documents.
   25   (Id.; see Moving Papers, Exhibits 44 and 45.) Plaintiffs’ counsel continued to
   26   maintain that the crime-fraud exception to the privilege applied to all of Mr. Reiss
   27   client communications. (Id.)
   28   //

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    1          Defendants’ counsel has sought to discuss the issue with counsel to narrow
    2   the scope of the communications that Plaintiffs contend would not be privileged.
    3   Defendants’ counsel suggested that the parties should be able to agree that certain
    4   categories of communications could not possibly fall within the exception, such as
    5   communications concerning Mr. Reiss’ settlement discussions with Plaintiffs’
    6   counsel. (Burgee Decl., ¶ 4.) Plaintiffs’ counsel have refused to consider that any
    7   communications involving Mr. Reiss might be protected, and proceeded with this
    8   Motion. (Id.)
    9
   10   III.   PLAINTIFFS HAVE NOT ESTABLISHED THE CRIME-FRAUD
   11          EXCEPTION TO THE ATTORNEY-CLIENT PRIVILEGE FOR
   12          COMMUNICATIONS INVOLVING REISS.
   13          The attorney-client privilege is "the oldest of the privileges for confidential
   14   communications known to the common law." Upjohn Co. v. United States, 449
   15   U.S. 383, 389 (1981). It is necessary to allow clients to make full disclosure to
   16   their attorneys of past wrongdoings, so that attorneys can render proper advice and
   17   representation. Fisher v. United States, 425 U.S. 391, 403 (1976). However, the
   18   doctrine of the crime-fraud exception to the attorney-client privilege has
   19   developed as to communications "’made for the purpose of getting advice for the
   20   commission of a fraud’ or crime." United States v. Zolin, 491 U.S. 554,563
   21          Based solely on that narrow purpose, to invoke the crime-fraud exception to
   22   the attorney-client privilege, the party contesting the privilege must show both that
   23   “the [subject] communications were in furtherance of an intended or present
   24   illegality . . . and that there is some relationship between the communications and
   25   the illegality." In re Grand Jury Proceedings, 87 F.3d 377, 380 (9th Cir. 1996).
   26          The Ninth Circuit explained that the court must find that the attorney's
   27   advice was being "utilized . . . in furtherance of the ongoing unlawful scheme." In
   28   re Grand Jury Proceedings (John Doe), 867 F.2d 539, 541 (9th Cir. 1989). Even

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    1   though the attorney may be unaware of the client’s intentions, the exception
    2   applies if the attorney’s advice is sought in furtherance of an improper purpose. In
    3   re Grand Jury Proceedings, supra, 87 F.3d at 381.
    4         The common theme that runs through the cases discussing the crime-fraud
    5   exception to the attorney-client privilege is that it pertains to communications
    6   directed at obtaining the attorney’s advice. That is where Plaintiffs is initially
    7   deficient. As much as Plaintiffs smear Defendants and proffer allegedly
    8   misleading documents, Plaintiffs make no showing that Mr. Reiss’ advice was
    9   sought relative to providing such documents to Plaintiffs. In fact, Mr. Reiss’
   10   declaration confirms that he was simply the messenger for any factual information
   11   that he passed along and that he relied solely upon information provided to him by
   12   his clients. (Reiss Decl., ¶ 6.) In this regard, none of the communications he had
   13   with his clients constituted advice pertaining to the preparation of financial
   14   documents. (Reiss Decl., ¶ 8.) Mr. Reiss was preparing agreements and
   15   interfacing with Plaintiffs’ counsel. (Id.)
   16         Further, Plaintiffs do not show that Mr. Reiss’ communications with his
   17   clients are related to the commission of any fraud. For example, in United States
   18   v. Bauer, 132 F.3d 504, 509 (9th Cir. 1997), the court found that the client’s
   19   alleged wrongdoing was in direct contravention of the attorney’s advice. The
   20   court therefore found that "it is impossible to discern a casual connection or
   21   functional relationship between the advice given by [the attorney] and the actions
   22   taken by [the defendant]. Therefore, the crime-fraud exception to the
   23   attorney-client privilege does not apply here." 132 F.3d at 510. Plaintiffs
   24   similarly fail to show a causal connection between any advice provided by Mr.
   25   Reiss and the making of any alleged misrepresentations. Again, Mr. Reiss’
   26   function was limited in scope and he was retained to prepare agreements, and,
   27   after the fact, to try to settle disputes with Plaintiffs and others. (Id.) He had
   28   //

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    1   nothing to do with rendering advice as to what information and documents should
    2   and should not be presented to Plaintiffs.
    3         Plaintiffs have neither shown that Mr. Reiss’ advice was sought in
    4   furtherance of committing fraud or that any advice given by Mr. Reiss is causally
    5   connected to any commission of fraud. There is thus no basis to invalidate the
    6   privilege attendant to Mr. Reiss’ communications with his clients. Plaintiffs’
    7   Motion should be denied.
    8
    9   IV.   PLAINTIFFS’ EFFORT TO INVALIDATE THE PRIVILEGE FOR
   10         ALL COMMUNICATIONS WITH REISS IS OVER-REACHING
   11         AND UNSUPPORTED.
   12         Mr. Reiss identifies the subject areas of his communications with his clients
   13   relative to this action, as follows:
   14                a. Communications regarding negotiations with Mr. Friedman in
   15         connection with the investment agreements with Mr. Busbice;
   16                b. Communications regarding discussions with Mr. Friedman
   17         regarding the uses of funds;
   18                c. Communications regarding settlement discussions with Mr.
   19         Friedman related to Mr. Busbice’s claims;
   20                d. Communications regarding discussions of disputes and settlement
   21         negotiations with counsel for Big Screen Partners V, Ltd.; and
   22                e. Communications regarding the defense of this lawsuit.
   23   (Reiss Decl., ¶ 8.)
   24         Working backward, communications concerning the present lawsuit as well
   25   as pre-litigation settlement discussions and settlement discussions in connection
   26   with other disputes certainly do not begin to meet the requirements of the crime-
   27   fraud exception. Such communications are necessarily long after the alleged
   28   misrepresentations which form the basis for Plaintiffs’ Motion.

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    1         Plaintiffs’ allegations are that misrepresentations were made to them to
    2   induce their investment in the subject movie projects. Consequently, any
    3   purported misrepresentations would predate the payment of funds and discussions
    4   as to how the funds were being used. The only window of time where there could
    5   have been a “present or intended illegality” to obtain money from Plaintiffs would
    6   be before Plaintiffs transferred funds to Defendants. Mr. Reiss was only involved
    7   at that point with negotiating contracts with Plaintiffs’ counsel. Plaintiffs’ request
    8   to invalidate the attorney-client privilege with respect to all communications with
    9   Mr. Reiss is therefore wholly unsupported. Plaintiffs’ Motion should be denied.
   10
   11   V.    CONCLUSION.
   12         It is clear that the courts approach the invalidation of the attorney-client
   13   privilege carefully and narrowly, requiring evidence that an attorney’s advice was
   14   used to commit fraud. Plaintiffs make no showing that Mr. Reiss was consulted or
   15   rendered advice relative to Plaintiffs’ claims that misrepresentations were made to
   16   obtain their investments in the subject movie projects, or that such non-existent
   17   advice was used to further a fraud on Plaintiffs. Plaintiffs therefore have not
   18   sustained their burden to invalidate the attorney-client privilege; Plaintiffs’ Motion
   19   should be denied.
   20
   21   DATED: April 27, 2015.                 BURGEE & ABRAMOFF P.C.
   22
   23
                                                BY:             /s
   24                                                 JOHN G. BURGEE
                                                Attorneys for Defendants
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     1                       DECLARATION OF JOHN G. BURGEE
     2         I, JOHN G. BURGEE declare:
     3         1.     I am an attorney at law duly qualified before this Court and am a
     4   principal of the law firm Burgee & Abramoff Professional Corporation, attorneys
     5   of record for Defendants. I have personal knowledge of the facts stated herein
     6   and if called upon to testify, I can and will competently testify thereto.
     7         2.     This declaration is made in support of Defendants’ Opposition to
     8   Plaintiffs’ Motion to Compel Production of Attorney-Client Communications.
     9         3.     From the outset of this case, before any discovery, Plaintiffs’ counsel
    10   asserted the position that absolutely none of the communications between
    11   Defendant Reiss and any of his clients are privileged. Upon review of documents
    12   produced by Mr. Reiss, I found no grounds to produce any attorney-client
    13   communications. None of the communications between Mr. Reiss and the other
    14   Defendants involved advice regarding the commission of fraud. I therefore
    15   provided Plaintiffs’ counsel with privilege logs as to hundreds of privileged
    16   documents. True and correct copies of the privilege logs are submitted with the
    17   Moving Papers as Exhibits 44 and 45. Plaintiffs’ counsel continued to maintain
    18   that the crime-fraud exception to the privilege applied to all of Mr. Reiss client
    19   communications.
    20         4.     I sought to discuss the issue with counsel to narrow the scope of the
    21   communications that Plaintiffs contend would not be privileged. I suggested that
    22   the parties should be able to agree that certain categories of communications could
    23   not possibly fall within the exception, such as communications concerning Mr.
    24   Reiss’ settlement discussions with Plaintiffs’ counsel. Plaintiffs’ counsel have
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     1   refused to consider that any communications involving Mr. Reiss might be
     2   protected, and proceeded with this Motion.
     3
     4         I declare under penalty of perjury under the laws of the United States of
     5   America that the foregoing is true and correct.
     6         Executed on April 27, 2015, at Woodland Hills, California.
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                                                                   /s
     9                                                      JOHN G. BURGEE
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